        Case 1:20-cr-00285-CCB Document 112 Filed 01/25/22 Page 1 of 30



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA       *
                               *      CRIMINAL NO. CCB-20-0285
     v.                        *
                               *
JOHNSON BIDEMI OGUNLANA,       *
                               *
          Defendant.           *
                            *******
           GOVERNMENT’S MEMORANDUM IN OPPOSITION TO
   DEFENDANT JOHNSON B. OGUNLANA’S SENTENCING MEMORANDUM

       The United States of America, by and through undersigned counsel, submits this

memorandum in opposition to the sentencing memorandum filed by defendant Johnson B.

Ogunlana (ECF No. 95).

       As stipulated in the plea agreement and further detailed in the Government’s sentencing

memorandum filed at ECF No. 92, Ogunlana’s intricate and prolific criminal schemes spanned no

less than 30 months and was fueled by his repetitive thefts of mail while working as a letter carrier,

amounting to several hundred thousand dollars in checks and well over 250 credit cards. He

conspired with defendant Samson A. Oguntuyi to seek out dozens of victims’ birth dates and social

security numbers in order to effect virtually countless fraudulent transactions, spurred by greed.

       But, in his filings, Ogunlana attempts to side-step and minimize the gravity of his rampant

criminal behavior and to tamp down the attendant Sentencing Guidelines range. He essentially

asks this Court to ignore literal volumes of evidence of his guilty knowledge and intentions on the

disputed issue of loss, and to turn a blind eye toward the admitted sophistication and sheer ambition

of his schemes. These aggravating factors fully support the Government’s request for a total

sentence of 11 years (132 months). The defendant fails to cite any mitigating factors that even

begin to justify his request for a variance down to the statutory minimum two-year sentence.



                                                  1
        Case 1:20-cr-00285-CCB Document 112 Filed 01/25/22 Page 2 of 30



                                              TABLE OF CONTENTS

I.     THE TOTAL LOSS AMOUNT EXCEEDS $1,500,000 ....................................................3

       A.        Legal Framework .....................................................................................................5

       B.        Relevant Facts ..........................................................................................................6

       C.        Credit Limits Specified by Defendants Provide a Reasonable Estimate of Intended
                 Loss for Stolen Credit Cards ....................................................................................8

              1. United States v. Lewis (cited by the Government in ECF No. 92 at 4) ………..10
              2. United States v. Muhammed (cited by the Government in ECF No. 92 at 4) …11
              3. United States v. Diallo (cited by Oguntuyi in ECF No. 102 at 7) ……………..12

       D.     Any Reasonable Estimate of Intended Loss for Each Stolen Credit Card Without a
              Specified Credit Limit Would be at Least $500 .......................................................14

II.    OGUNLANA’S REQUEST FOR A VARIANCE DOWN TO THE 24-MONTH
       MINIMUM IS UNJUSTIFIED ..........................................................................................16

       A.        Applicable Sentencing Guidelines Factors Represent Significant Aggravating
                 Circumstances in this Case ....................................................................................17

             1. Ogunlana’s Conduct Was Intricate In Its Organization and Sophistication ……17
             2. Defendants Produced and Trafficked Unauthorized Access Devices and Means of
                Identification ……………………………………………………………………19
             3. Defendants Victimized Over 250 Individual Victims and Numerous Businesses .20
             4. Ogunlana Profited From His Crimes …………………………………………...21
             5. Ogunlana Flagrantly Abused the Public’s Trust On a Serial Basis ……………22

       B.        OGUNLANA’S CRIMES WERE UNUSUALLY SERIOUS, BY ANY
                 REASONABLE MEASURE ................................................................................23

             1. Ogunlana’s Culpability for the Offenses Is Extremely High ……………………24
             2. Ogunlana’s Impact On Victims and Abuse of Their Vulnerabilities Were
                Substantial ……………………………………………………………………...26
             3. Ogunlana Poses an Acute Economic Danger to the Community ………………27

       C.        OGUNLANA’S CHARACTER FOR DECEIT IS FIRMLY ESTABLISHED....28

III.   CONCLUSION ..................................................................................................................30




                                                                 2
        Case 1:20-cr-00285-CCB Document 112 Filed 01/25/22 Page 3 of 30



I.     The Total Loss Amount Exceeds $1,500,000

       The Government is filing contemporaneously with this memorandum several sealed

exhibits, two of which (Exhibit 22 and Exhibit 23) are submitted in replacement of those

previously filed as Exhibits 1 and 2 at ECF Nos. 94 and 98 in December 2021. Since the filing of

the latter exhibits in December, a case agent was tasked with checking the number of credit cards

and the credit limits listed in the exhibits against the relevant WhatsApp correspondence between

the defendants (which is submitted in full as Exhibit 24 and Exhibit 25, and in excerpted form as

Exhibit 24-A and Exhibit 25-A). The agent discovered minor errors and made corrections

reflected in the following exhibits filed contemporaneously with this memorandum:

               Exhibit 22 provides a list of credit cards that are discussed or photographed during
                the WhatsApp correspondence between Ogunlana and Oguntuyi, which total 278
                (replacing Exhibit 1 filed at ECF Nos. 94 and 98). Corrected cells are highlighted.
               Exhibit 23 lists those credit cards for which credit limits are noted in the WhatsApp
                correspondence, which now total $995,389 (replacing Exhibit 2 filed at ECF Nos.
                94 and 98). Corrected cells are highlighted.

        The Government submits that the U.S.S.G. §2B1.1(b)(1) loss amount in this case is

properly computed as follows:

 Estimated Amount           Factual Basis
 $565,000                   Total amount of checks stolen from DeVere Insulation Company
                            and Evan Transportation Inc.
 $995,389                   Total amount of credit limits for approximately 115 credit cards
                            explicitly contemplated by defendants Oguntuyi and Ogunlana in
                            their WhatsApp correspondence
 $50,000                    Estimated loss amount of $500 for at least 100 credit cards for
                            which credit limits were not specifically noted in WhatsApp
                            correspondence
 $58,888                    Fraudulent check deposits into “EZ Go Towing” and “P.R.
                            Production” accounts
 $1,699,277 total


                                                  3
         Case 1:20-cr-00285-CCB Document 112 Filed 01/25/22 Page 4 of 30



        Ogunlana disputes the loss amounts assessed above for his conspiracy to steal 250 credit

cards from the United States mail.1 The defendant goes to great lengths to argue that the

Sentencing Guidelines cannot account for the total value he clearly knew the stolen credit cards

possessed when he willfully conducted the theft and fraud scheme. The only credit card loss he is

willing to concede is limited to fraudulent charges made using the stolen credit cards. Actual

losses from use of stolen credit cards are inadequate to compute the loss amount under §

2B1.1(b)(1) because the intended loss is undoubtedly higher. See U.S.S.G. § 2B1.1, Application

Note 3(A) (defining “loss” as “the greater of actual loss or intended loss”) (emphasis added). The

defendant asks this Court to write off the intended loss as if it cannot be reasonably estimated.

        Ogunlana argues that credit limits for the stolen credit cards do not provide a reasonable

measure of intended loss. On this point, the extra-Circuit case Ogunlana relies upon is readily

distinguishable from the instant case and, moreover, is not binding on this Court. The Fourth

Circuit cases cited in the Government’s sentencing memorandum (ECF No. 92), while

unpublished, are on point and consistently support the use of credit limits to assign value to stolen

credit cards and thereby assess intended losses from the theft.

        Before addressing the defendant’s arguments in detail, a review of the legal framework and

relevant facts is in order.




1
  The parties agree that the loss amount for the stolen business checks totals approximately
$565,000. It is unclear whether Ogunlana will dispute the loss amount for the fraudulent check
deposits into the “EZ Go Towing” and “P.R. Production” accounts. Pages 189 through 218 and
of Exhibit 24 (excerpted in Exhibit 24-A) display Ogunlana and Oguntuyi’s communications
about the “EZ Go Towing” account. A record of that account reflecting a fraudulent check
deposit of $49,000 was previously submitted under seal as Exhibit 5 at ECF No. 101-5. Exhibit
26 is an excerpted extraction of WhatsApp correspondence between Ogunlana and Ajayi
displaying their communications about the “P.R. Production” account. Exhibit 27 is a record
from that account that reflects an attempted fraudulent deposit of $9,888.


                                                 4
        Case 1:20-cr-00285-CCB Document 112 Filed 01/25/22 Page 5 of 30



       A. Legal Framework

       The Sentencing Guidelines provision for determining the offense level for theft and fraud

offenses includes an increase of the offense level for loss in U.S.S.G. § 2B1.1(b)(1), with the level

of increase determined by the loss amount. Here, the parties’ dispute is confined to whether there

is a 14-level increase for a loss exceeding $550,000 (Ogunlana’s position) or a 16-level increase

for a loss exceeding $1,500,000 (the Government’s position).

       Importantly, the sentencing court “need only make a reasonable estimate of the loss, given

the available information.” United States v. Wolf, 860 F.3d 175, 197 (4th Cir. 2017) (internal

quotation marks and citation omitted).               “The loss amount ‘must be supported by

a preponderance of the evidence’ but ‘need not be determined with precision.’” Id. (citation

omitted). Loss resulting or intended to result from the conduct of co-conspirators within the scope

of the conspiracy may be attributed to a defendant if the conduct was “in furtherance of, and

reasonably foreseeable in connection with the criminal activity.” United States v. Otuya, 720 F.3d

183, 191 (4th Cir. 2013) (quoting U.S.S.G. § 1B1.3(a)(1)(B)) (internal quotation marks omitted).

       For purposes of § 2B1.1, “loss” is defined as “the greater of actual loss or intended loss.”

United States v. Savage, 885 F.3d 212, 227 (4th Cir. 2018) (quoting Application Note 3(A)).

“Actual loss” is further defined as “the reasonably foreseeable pecuniary harm that resulted from

the offense.”   United States v. Shephard, 892 F.3d 666, 672–73 (4th Cir. 2018) (quoting

Application Note 3(A)(i)). Similarly, the Merriam-Webster dictionary’s definition of “loss”

includes “the act or fact of being unable to keep or maintain something or someone” and “the

harm or privation resulting from losing or being separated from someone or something.” See

https://www.merriam-webster.com/dictionary/loss (emphasis added). “Pecuniary harm” is “harm

that is monetary or that otherwise is readily measurable in money.” U.S.S.G. § 2B1.1, Application



                                                 5
        Case 1:20-cr-00285-CCB Document 112 Filed 01/25/22 Page 6 of 30



Note 3(A)(iii). Thus, “[t]he general rule is that loss is determined by measuring the harm to the

victim.” United States v. Ruhe, 191 F.3d 376, 391 (4th Cir. 1999). In theft and fraud cases, “[a]

determination of the amount of the loss suffered focuses . . . on the value of the money, property,

or services unlawfully taken.” United States v. Marcus, 82 F.3d 606, 608 (4th Cir. 1996) (internal

quotation marks and citation omitted).

       “Intended loss” is defined as “the pecuniary harm that the defendant purposely sought to

inflict,” including “intended pecuniary harm that would have been impossible or unlikely to

occur....” Savage, 885 F.3d at 227 (quoting Application Note 3(A)(ii)). Thus, it is clear that,

whether actual or intended, loss under § 2B1.1 is focused on the value of that which was actually,

or intended to have been, deprived or taken or separated from the victim.

       Application Note 3(F)(i) provides that, in cases involving unauthorized access devices

(e.g., stolen credit cards), “loss” includes unauthorized charges “and shall be not less than $500

per access device.”

       B. Relevant Facts

       In connection with his guilty plea, Ogunlana admitted that, between July 2016 and

February 2019, while working as a United States Postal Service (“USPS”) letter carrier, he

knowingly and willfully conspired and agreed with defendant Samson A. Oguntuyi and others to

execute fraud schemes and to steal matters from the mail for the purpose of executing the fraud

schemes. Among other things, Ogunlana would steal mail pieces containing credit cards issued to

individual victims and send photos of the stolen credit cards to Oguntuyi through WhatsApp. See

Exhibits 25 and 26. Review of the WhatsApp correspondence revealed images and information

about approximately 250 credit cards, including specifically identified credit limits totaling

approximately $995,389. See Exhibits 22 and 23. Oguntuyi would access and produce the



                                                6
        Case 1:20-cr-00285-CCB Document 112 Filed 01/25/22 Page 7 of 30



victims’ dates of birth and social security numbers in order for the conspirators to activate the

stolen credit cards and make fraudulent retail purchases.        Through subpoenas for records

associated with a number of the stolen credit cards, and interviews with several victim cardholders,

the Government confirmed that fraudulent charges were made using many of the credit cards after

Ogunlana stole them. See, e.g., Exhibits 8 through 21, filed under seal at ECF No. 101 (records

of 14 stolen credit card accounts). The investigation also revealed that the conspirators used the

stolen credit cards specifically to purchase expensive personal electronics, as shown in photos

displayed below, which they then sold for cash.




                                                  7
        Case 1:20-cr-00285-CCB Document 112 Filed 01/25/22 Page 8 of 30



       Exhibit 13 (ECF No. 101-13 at 1, 2) lists fraudulent charges made in furtherance of the

conspiracy totaling $15,415.26, exceeding the card’s credit limit of $14,000. These charges

included several high-dollar purchases made at three different Apple Store locations in Maryland,

apparently for expensive personal electronics. The fraudulent purchases were made by co-

conspirator Sunday Ajayi, who had received the credit card from Ogunlana in July 2018. Review

of the correspondence between Oguntuyi and Ogunlana shows that Ogunlana was specifically

aware of the charges Ajayi made on the credit card in question. See Exhibit 25 at 1151-77. Ajayi

continued to receive more stolen credit cards to use in furtherance of the conspiracy for several

months thereafter. See United States v. Ajayi, Crim. No. CCB-21-242, ECF No. 19 at 11 (Plea

Agreement, Attachment A).

       Exhibit 17 (ECF No. 101-17 at 3, 4) lists fraudulent charges made in furtherance of the

conspiracy totaling $4,957.57, closely approaching the card’s credit limit of $5,000. Again, these

charges included at least one high-dollar purchase made at an Apple Store location in Towson,

Maryland in October 2018.

       Thus, it is apparent that Ogunlana’s conspiracy made charges on the credit cards close to

or beyond the credit limits for at least some of the stolen cards.

       C. Credit Limits Specified by Defendants Provide a Reasonable Estimate of Intended
          Loss for Stolen Credit Cards

       As noted above, Ogunlana and Oguntuyi conspired to steal about 250 credit cards, and their

correspondence through WhatsApp specified credit limits for 115 of these cards totaling

approximately $995,389 and did so contemporaneously to the thefts. See Exhibit 23. By

conspiring to steal the credit cards, Ogunlana and Oguntuyi deprived the victim cardholders of

access to the credit associated with each of the credit cards and, upon activating the cards,

converted that credit to their own use. The pecuniary value of the credit associated with each


                                                  8
         Case 1:20-cr-00285-CCB Document 112 Filed 01/25/22 Page 9 of 30



stolen card is the card’s credit limit, and it was this value that Ogunlana and Oguntuyi stole from

the victim cardholders. At the very least, the defendants were aware of the value of each of the

credit cards for which a credit limit was specifically referenced in their WhatsApp correspondence.

From this knowledge and the ongoing series of credit card thefts and fraudulent transactions, which

spanned many months between 2016 and 2018, the Court may reasonably infer the defendants’

intent to deprive each of the victims of access to and legitimate use of the credit associated with

each of the cards, as valued by their credit limits. In short, Ogunlana and Oguntuyi intended to—

and, at least temporarily, did—deprive the victims of access to and legitimate use of credit valued

at (at least) $995,389.

        Additionally, as noted above, some of the stolen credit cards in this case were exploited up

to or beyond their credit limits. See ECF No. 101-13 at 1, 2 (Exhibit 13 listing $15,415.26 in

fraudulent charges on a card with a $14,000 credit limit); and ECF No. 101-17 at 3, 4 (Exhibit 17

listing $4,957.57 in fraudulent charges on a card with a $5,000 credit limit). This fact indicates,

at minimum, the conspirators’ willingness to put the full credit limits associated with the credit

cards at risk.2

        The use of credit limits to determine or estimate loss resulting from stolen credit cards has

been repeatedly adopted and endorsed by the courts, including District Judges of this Court. This

method has been unsuccessfully challenged several times on appeal to the Fourth Circuit Court of

Appeals. See United States v. Weathers, 581 F. App’x 273 (4th Cir. 2014) (affirming Judge




2
  WhatsApp correspondence between Ogunlana and Oguntuyi (Exhibit 25 at 1151-77) indicates
that they were displeased to learn that Ajayi had made the high number of purchases listed in
Exhibit 13 (ECF No. 101-13) without their approval. However, as noted above, Ajayi continued
to receive stolen credit cards in furtherance of the conspiracy for several months after the charges
in Exhibit 13. Ogunlana transferred these cards to Ajayi aware of the risk that they would be
maxed out, and at least one such card was maxed out. ECF No. 101-17 (Exhibit 17).
                                                 9
        Case 1:20-cr-00285-CCB Document 112 Filed 01/25/22 Page 10 of 30



Garbis); United States v. Bratton-Bey, 537 F. App’x 165 (4th Cir. 2013) (affirming Judge Legg);

United States v. Muhammed, 108 F. App’x 775 (4th Cir. 2004); United States v. Lewis, 312 F.

App’x 515 (4th Cir. 2008). The Fourth Circuit is not alone in affirming this method of computing

intended credit card losses. See, e.g., United States v. Harris, 597 F.3d 242, 260 (5th Cir. 2010)

(finding no error in district court’s calculation of intended loss based on credit limits of stolen

credit cards where “the defendants recklessly jeopardized the aggregate credit limits of the cards

they compromised”); United States v. Manoocher Nosrati-Shamloo, 255 F.3d 1290, 1291 (11th

Cir. 2001) (“[O]nce a defendant has gained access to a certain credit line by fraudulently applying

for credit cards, a district court does not err in determining the amount of the intended loss as the

total line of credit to which defendant could have access.”); United States v. Egmonye, 62 F.3d

425, 428-29 (1st Cir. 1995) (affirming use of aggregate credit limits as measure of intended loss);

United States v. Sowels, 998 F.2d 249, 251-252 (5th Cir. 1993) (same). Ogunlana fails to cite a

single case in which the Fourth Circuit rejected the use of credit limits to determine loss.

               1. United States v. Lewis (cited by the Government in ECF No. 92 at 4)

       Lewis involved the defendant’s fraudulent use of a debit card for which there was a daily

credit limit of $27,000. 312 F. App’x at 517. “To determine the amount of loss attributable to

Lewis [in his presentence investigation report], the probation officer used the $27,000 daily credit

limit on the fraudulent debit card for each of the six days Lewis possessed the card, for a total of

$162,000 as intended loss.” Id. The district court accepted this loss computation, and the

defendant challenged that decision on appeal, “argu[ing] that use of the daily credit limit of the

debit card as intended loss was not supported by the record[.]” Id. The defendant pointed out that

he had only obtained between $5,000 and $10,000, and argued that the loss should be confined to




                                                 10
        Case 1:20-cr-00285-CCB Document 112 Filed 01/25/22 Page 11 of 30



that amount of actual loss. Id. The Fourth Circuit panel rejected this argument and affirmed use

of the daily credit limit to make a reasonable estimate of intended loss. Id.

       The Government’s approach in the instant case is far more conservative. The Government

does not contend that the Court should multiply the credit limit for each of the stolen credit cards

by the number of days the conspirators possessed and used them. Instead, the intended loss amount

may be reasonably estimated by totaling the credit limits specifically noted in correspondence

between Ogunlana and Oguntuyi, without need to multiply these limits by the many days the

conspirators possessed the cards and deprived the victim cardholders of their legitimate use.

                2. United States v. Muhammed (cited by the Government in ECF No. 92 at 4)

       Muhammed involved the unlawful possession and fraudulent use of credit card account

numbers the defendant maintained in several notebooks. 108 F. App’x at 775-76. Although the

defendant had only used 13 of the total 94 credit card accounts, resulting in less than $45,000 in

actual losses, the district court determined higher intended losses for the many unused credit cards

by using the credit limits of the cards with credit limits and $500 for each unused card without a

credit limit, resulting in a total intended loss exceeding $220,000. Id. at 776. On appeal, the

defendant challenged the factual basis for the district court’s findings that he intended to use all of

the credit card accounts and that he intended to use all available credit on each account. Id. at 777.

The Fourth Circuit panel rejected this argument. Evidence that the defendant exceeded the credit

limits on five of the 13 accounts he used was sufficient to support the district court’s conclusion

that “the remaining victims were exposed to potential losses exceeding the credit limit for each

account.” Id.

       Similarly here, out of the sampling of 14 stolen credit cards for which the Government has

produced evidence of fraudulent use and claimed restitution, records for two of the cards show that



                                                  11
        Case 1:20-cr-00285-CCB Document 112 Filed 01/25/22 Page 12 of 30



the conspiracy maxed them out with fraudulent purchases. See ECF No. 101-13 at 1, 2 ($15,415.26

in fraudulent charges with a $14,000 credit limit); and ECF No. 101-17 at 3, 4 ($4,957.57 in

fraudulent charges with a $5,000 credit limit). Considering that Ogunlana knowingly and willfully

participated in this conspiracy aware of credit limits associated with stolen credit cards totaling at

least $995,389, and aware that at least some of the credit cards were maxed out in furtherance of

the conspiracy, Ogunlana intentionally risked the full credit limits of the stolen credit cards.

               3. United States v. Diallo (cited by Oguntuyi in ECF No. 102 at 7)

       Ogunlana cites United States v. Diallo, 710 F.3d 147 (3rd Cir. 2013), an extra-Circuit case

readily distinguishable from the instant case. The defendant in Diallo pleaded guilty to possessing

dozens of counterfeit credit cards and information for over 200 compromised credit card accounts,

which could be loaded onto gift cards to create more counterfeit credit cards. 710 F.3d at 147-48.

At sentencing, the district court determined that the intended loss amount was the aggregate credit

limit for all cards and account information that the defendant possessed, despite the lack of

evidence that the defendant even knew the credit limits for the accounts. Id. at 149. The Third

Circuit ultimately reversed the district court, having described the issue on appeal as follows: “This

appeal requires us to determine how sentencing courts should calculate what ‘pecuniary harm was

intended to result’ from credit card fraud when the fraud’s perpetrator did not know the credit

limit, which is the potential loss amount from the stolen credit card.” Id. at 150 (emphasis added).

       Here, in contrast, the credit limits for cards stolen by Ogunlana and Oguntuyi which

comprise the $995,389 loss figure were specifically noted in their correspondence via WhatsApp

(see Exhibits 23 and 25), so Ogunlana clearly had guilty knowledge of the potential loss.

Furthermore, Ogunlana intended the loss in this total amount, having literally stolen the actual

credit cards and thereby deprived the victim cardholders of possession and use of credit issued to



                                                 12
        Case 1:20-cr-00285-CCB Document 112 Filed 01/25/22 Page 13 of 30



them. By intercepting victims’ credit cards before the victims could even possess them, Ogunlana

effectively denied the victim cardholders access to the credit valued at the credit limit of each

stolen credit card. There is no indication in Diallo that the defendant’s possession of compromised

credit card information and counterfeit credit cards encoded with such information interfered with

the victim cardholders’ legitimate possession and use of their genuine and actual credit cards. In

other words, the victim cardholders only suffered pecuniary harm insofar as the defendant made

actual fraudulent use of their accounts, or intended to do so. Unlike Diallo, Ogunlana’s cardholder

victims were completely separated from, and deprived of, the use of their cards and suffered

pecuniary harm in the amount of credit assigned to their stolen cards. The pecuniary harm was

done and intended at the time of each theft and lasted for as long as it took for the victim

cardholders and issuing companies to discover the fraud, cancel the stolen cards, and/or issue new

cards to the cardholders. The Third Circuit’s reasoning in Diallo, therefore, has no application

here.

        The Third Circuit also distinguished Diallo from several other cases in which credit limits

were used to assess intended loss: United States v. Harris, 597 F.3d 242 (5th Cir. 2010); United

States v. Bonanno, 146 F.3d 502 (7th Cir. 1998); and United States v. Staples, 410 F.3d 484 (8th

Cir. 2005). The court noted that, unlike Diallo, the foregoing cases “involved either defendants

who recklessly transferred the credit information to a third party, thereby placing the full potential

loss at risk, or defendants who had knowledge of and actually intended the maximum potential

loss.” Diallo, 710 F.3d at 150. The instant case is distinguishable from Diallo on the same

grounds. Here, the WhatsApp correspondence proves that Ogunlana had specific knowledge of

the credit limits for 115 credit cards he stole and thereby deprived the victims of that value.

Additionally, a number of the stolen cards were transferred to third parties, including Sunday



                                                 13
        Case 1:20-cr-00285-CCB Document 112 Filed 01/25/22 Page 14 of 30



Ajayi, placing the full credit limits on those cards at risk. Indeed, at least two of the stolen credit

cards Ogunlana transferred to Ajayi were exploited up to or beyond their credit limits. See ECF

No. 101-13 at 1, 2 (Exhibit 13 listing $15,415.26 in fraudulent charges on a card with a $14,000

credit limit); and ECF No. 101-17 at 3, 4 (Exhibit 17 listing $4,957.57 in fraudulent charges on a

card with a $5,000 credit limit).

       Finally, Diallo is a Third Circuit case and not binding on this Court.

       In summary, the Government has shown by a preponderance of the evidence that Ogunlana

intended losses from 115 credit cards he conspired to steal in the amounts of credit limits noted

for these cards in correspondence between him and Ogunlana, which total approximately

$995,389. See Exhibit 23. This figure represents the value of credit that the conspirators knew

they were depriving, taking, and separating from the victims—satisfying any reasonable definition

of “loss.” And it is a reasonable estimate of intended loss for this subset of 115 credit cards, which

is all that U.S.S.G. § 2B1.1 requires.

       D. Any Reasonable Estimate of Intended Loss for Each Stolen Credit Card Without
          a Specified Credit Limit Would Be At Least $500

       There remains the matter of the numerous credit cards stolen by the defendants for which

no credit limit was specifically noted in their correspondence via WhatsApp. There was more than

150 of such credit cards.3 Before undertaking to estimate intended loss from this category of stolen

credit cards, it is important to note that (unless such loss is estimated to exceed $2 million) this

portion of the loss amount will not affect the U.S.S.G. § 2B1.1(b)(1) enhancement. The losses of

$565,000 from stolen business checks and $58,888 from the “EZ Go Towing” and “P.R.

Production” checks, combined with the credit limits totaling $995,389 discussed in Part II.C above,


3
 Subtracting the 115 credit cards for which credit limits were specified in the WhatsApp
correspondence (listed in Exhibit 23) from total 278 credit cards identified or noted in the
correspondence (listed in Exhibit 22), results in 163 credit cards that fall under this category.
                                                  14
       Case 1:20-cr-00285-CCB Document 112 Filed 01/25/22 Page 15 of 30



by themselves, exceed $1,500,000 and therefore warrant a 16-level enhancement under §

2B1.1(b)(1)(I). If the Court accepts these loss amounts, for which there is ample evidence to make

a reasonable estimate, then it need not address the matter of loss for the many stolen credit cards

whose credit limits were not specified in the defendants’ WhatsApp correspondence.

       Notwithstanding, the Government’s position is that $500 is a conservative estimate of loss

that the defendants intended from each credit card they stole for which no credit limit was

specifically noted. The exhibits attached to the Government’s restitution request strongly support

the its position. See Wolf, 860 F.3d at 197 (sentencing court “need only make a reasonable estimate

of the loss, given the available information”).

       At ECF No. 101, the Government attached to its request for restitution account records for

14 credit cards stolen in connection with the conspiracy in this case. See ECF No. 101, Exhibits

8 through 21. These records identify in yellow highlights the amounts of fraudulent purchases

made with each card. For convenience, these amounts are listed in the table below:

 Exhibit        Description                                         Amount of Fraud Charges
 Exhibit 8      Bank of America card issued to B.L.S.                                $524.54
 Exhibit 9      American Express card issued to B.L.S.                             $3,790.64
 Exhibit 10     Synchrony/ Walmart card issued to S.S.                             $1,600.77
 Exhibit 11     Citibank card issued to V.M.                                         $198.88
 Exhibit 12     Citibank card issued to A.D.                                       $1,767.16
 Exhibit 13     Citibank/ L.L. Bean card issued to E.E.L.                         $15,415.26
 Exhibit 14     Citibank card issued to B.I.S.                                     $1,646.44
 Exhibit 15     Chase/ Southwest card issued to W.S.                               $1,838.04
 Exhibit 16     Chase card issued to K.Y.                                          $2,472.22
 Exhibit 17     Capital One card issued to E.L.                                    $4,957.57
 Exhibit 18     Capital One card issued to J.G.                                    $2,276.88
 Exhibit 19     Bank of America card issued to S.M.                                $3,308.07
 Exhibit 20     American Express/ Macy’s card issued to C.F.                       $1,121.24
 Exhibit 21     Discover card issued to S.T.                                         $949.76
                                                                                  $41,867.47




                                                  15
         Case 1:20-cr-00285-CCB Document 112 Filed 01/25/22 Page 16 of 30



         Dividing the total amount of fraudulent charges ($41,867) by the number of listed credit

cards (14) results in an average amount of fraudulent charges for a single card: approximately

$2,990. Thus, $2,990 provides a fair estimate of loss intended from each stolen credit card for

which the defendants did not specifically know the credit limit. Any estimate of intended loss less

than $2,990 per card would be a conservative estimate. The Government’s proposed estimate of

$500 per card is significantly less than the average and very conservative.

         Applying the $2,990 average to the more than 150 credit cards identified in the defendants’

WhatsApp correspondence without mention of a credit limit, would result in an estimated intended

loss of $448,500. The Government has proposed the far more conservative figure of $50,000

($500 x just 100 cards).

         But, again, if the Court accepts the undisputed loss of $565,000 from stolen business

checks, losses totaling $58,888 from the “EZ Go Towing” and “P.R. Production” checks, and the

aggregate $995,389 credit limit of cards for which credit limits were specifically noted in the

WhatsApp correspondence, the estimated loss for the credit cards will have no effect on the

U.S.S.G. § 2B1.1(b)(1) enhancement. Either way, the total intended loss exceeds $1,500,000 and

will result in a 16-level enhancement and, for Ogunlana, a Sentencing Guidelines range of 132

months to 159 months. The Government recommends a total sentence at the low end of this

range.

II.      Ogunlana’s Request For a Variance Down to the 24-Month Minimum Is Unjustified

         In his memorandum filed at ECF No. 95, Ogunlana requests a drastic downward variance

to the statutory minimum sentence of two years, asking this Court to impose concurrent

probationary sentences for Count One (Conspiracy to Commit Bank Fraud and Mail Fraud), Count

Twelve (Access Device Fraud), and Thirty-Two (Theft of Mail by Postal Employee). Ogunlana’s

request is not only extreme, but it is illegal. As Ogunlana acknowledges, 18 U.S.C. § 1028A
                                                 16
       Case 1:20-cr-00285-CCB Document 112 Filed 01/25/22 Page 17 of 30



requires that the mandatory two-year sentence on Count Twenty-Three (Aggravated Identity

Theft) be imposed consecutively to any sentences imposed on the remaining counts. Additionally,

18 U.S.C. § 3561(a) forbids a sentence of probation for any Class A or Class B felony. As noted

on Page 1 and in Paragraphs 67 and 75 of the PSR, Count One (Conspiracy to Commit Bank Fraud)

is a Class B felony for which a maximum sentence of 30 years may be imposed pursuant to 18

U.S.C. §§ 1344 and 1349. The Court cannot grant a probationary sentence for this offense.

       The only justifications offered for such an extreme variance are a generalized attack against

the Sentencing Guidelines in financial fraud cases, which have nothing to do with the particulars

of this case, and laudatory statements about Ogunlana’s character that are belied by the evidence

and Ogunlana’s behavior while on pretrial release. Each of these sets of arguments are addressed

in turn below.

       A. Applicable Sentencing Guidelines Factors Represent Significant Aggravating
          Circumstances In This Case

       It is abundantly clear that the factual grounds for each of the applicable Sentencing

Guidelines factors are significant aggravators that warrant substantial increases in Ogunlana’s

sentence. Ogunlana’s generalized attack on the Sentencing Guidelines falls flat in light of these

aggravating facts.

       1. Ogunlana’s Conduct Was Intricate In Its Organization and Sophistication

       First, with respect to the two-level enhancement for sophisticated means under U.S.S.G. §

2B1.1(b)(10), Ogunlana’s conspiracy involved nothing less than

   1) the systematic theft of business checks from the incoming mail of targeted business
       victims;

   2) the filing false business formation documents in several different states to register fake
       businesses in names similar to the victims (Evan Transportation Inc. and DeVere Insulation


                                                17
       Case 1:20-cr-00285-CCB Document 112 Filed 01/25/22 Page 18 of 30



       Company), while listing the names of identity-theft victims (such as T.B. and J.C.) as
       corporate officers;

   3) the registration of Employer Identification Numbers (“EINs”) with the IRS for these fake
       businesses, again using the personal identifying information (“PII”) of identity-theft
       victims as registrants;

   4) using the fraudulent EINs, fraudulent business formation documents, and stolen identities
       to open numerous business accounts at several different banks in multiple states; and

   5) utilizing co-conspirators to assume the risk of performing tasks in furtherance of the
       conspiracy, such as opening fraudulent business accounts, negotiating stolen checks,
       making fraudulent purchases with stolen credit cards, and conducting sales of the
       merchandise.

These methods were designed to mask Ogunlana’s and Oguntuyi’s participation in the conspiracy.

The two-level enhancement in § 2B1.1(b)(10) requires far less sophisticated means than the

foregoing. There can be no doubt that the enhancement is meaningful in this case and justifies a

substantial increase in Ogunlana’s sentence.

       And this is not a case where the defendant could claim that he did not know about, or had

nothing to do with, the foregoing activities. Evidence acquired during the investigation shows that

Ogunlana was personally familiar with registering businesses and opening bank accounts. For

example, items found in Ogunlana’s possession during the execution of search warrants on

February 5, 2019, included a ripped Internet-generated receipt from the Maryland Department of

Assessments and Taxation for business formation and registration fees (Exhibit 28), as well as

both a debit card and PIN mailer issued by SunTrust to identity-theft victim T.B. for a fraudulent

account opened in the name of business victim Devere Insulation Company (Exhibit 29).




                                                18
       Case 1:20-cr-00285-CCB Document 112 Filed 01/25/22 Page 19 of 30



       Ogunlana also personally employed Ajayi to conduct fraudulent credit card purchases,

minimizing risk to himself, and even received assistance from his older brother Richard Allison4

to sell the merchandise purchased.

       2. Defendants Produced and Trafficked Unauthorized Access Devices and Means of
          Identification

       Second, the § 2B1.1(b)(11) enhancement of two levels for producing and trafficking

unauthorized access devices and means of identification reflects several aggravating circumstances

in this case. After stealing a credit card and related material from the mail, which Ogunlana did

on a continuous and serial basis, he would send photos of the cards and, at least sometimes, the

cards themselves to Oguntuyi. Additionally, the defendants did not only steal and activate credit

cards specifically applied for by the individual victims; they also used the victims’ PII to cause

issuance and mailing of new credit cards the victims never requested or applied for. In this way,

the defendants both trafficked and produced unauthorized access devices. Furthermore, the means

by which the defendants produced unauthorized access devices constitutes a third basis upon which

the § 2B1.1(b)(11) enhancement is warranted here: the use of victims’ means of identification (i.e.,

their names, dates of birth, and social security numbers) to produce and obtain other means of

identification (i.e., credit cards issued in the victims’ names without their permission and

intercepted from the mail by the defendants). Thus, the § 2B1.1(b)(11) enhancement is doing a


4
  The defense has submitted a character letter from Allison falsely implying that he knew nothing
about Ogunlana’s criminal activity while it was occurring. A recorded jail call that Ogunlana
had with his then-girlfriend Jennie Ford on May 21, 2018, while Ogunlana was detained in
Fairfax County, Virginia on DWI charges (see PSR ¶ 42), shows an attempt by Allison and other
relatives of Ogunlana to retrieve a cache of personal electronic merchandise Ogunlana stored in
his home. See Exhibit 30 (excerpted transcript). WhatsApp correspondence between Ogunlana
and Allison (listed as “Big Bro”) shows that Allison eventually obtained and sold some of this
merchandise, then brokered and facilitated additional sales for Ogunlana after Ogunlana’s
release, and was also involved in discussions between Ogunlana and Oguntuyi (called “Jeje” in
the text messages) about fraudulent purchases made with stolen credit cards (called “pako” in the
texts). See Exhibit 31 (excerpted WhatsApp correspondence between Ogunlana and Allison).
                                                19
        Case 1:20-cr-00285-CCB Document 112 Filed 01/25/22 Page 20 of 30



lot of work in this case by capturing not only the transfer of legitimate credit cards stolen from the

mail, but also the repeated and systematic exploitation of victims’ identities to create fraudulent

credit card accounts without the victims’ knowledge or consent. A substantial increase in

Ogunlana’s sentence is fully merited by this wide range and longstanding course of criminal

behavior.

       3. Defendants Victimized Over 250 Individual Victims and Numerous Businesses

       Third, this case involves a far greater number of victims than that required by the two-level

enhancement under § 2B1.1(b)(2)(A). All that § 2B1.1(b)(2)(A) requires is 10 victims. This case

involves well over a dozen institutional victims and well over 250 individual victims whose

identities or credit cards (or both) were stolen. Some of the individual victims were exploited more

thoroughly than others. For instance, the identities of T.B. (a Maryland resident living on

Ogunlana’s mail delivery route) and J.C. (a Georgia resident apparently swept into the case

personally by Oguntuyi) were used over and over again by the defendants—to form shell

businesses, to register EINs, to open fraudulent business bank accounts, and to forge endorsements

on numerous stolen checks. In this way, Ogunlana and Oguntuyi hid behind victims like T.B. and

J.C. in conducting their fraud scheme and exposed these victims to potential civil liability and even

criminal charges for all the fraud the defendants committed. Other victims’ identities were used

simply to activate credit cards the defendants stole from them and to make fraudulent purchases

with the cards. But each of the victims was targeted, impacted, and at least exposed to grave harm

by Ogunlana’s rampant thefts of mail and by Oguntuyi’s eager pursuit and capture of the victims’

sensitive personal information and transfer of that information to Ogunlana.




                                                 20
       Case 1:20-cr-00285-CCB Document 112 Filed 01/25/22 Page 21 of 30



       4. Ogunlana Profited From His Crimes

       Ogunlana seeks to draw attention away from the loss factor in this case by minimizing how

much he gained and stood to gain from his serial thefts and frauds. There can be no question that

Ogunlana stood to gain substantially from his longstanding criminal schemes; there was no other

reason for him to engage in these crimes. With respect to the stolen credit cards, Ogunlana has

stipulated that he sold merchandise fraudulently purchased with these cards (including valuable

consumer electronics) on the street for cash. PSR ¶ 12. With respect to the stolen business checks,

Ogunlana has stipulated that, after the checks were fraudulently deposited into various accounts,

funds were withdrawn from the accounts through cash withdrawals and cash-back transactions.

PSR ¶ 19. It is no coincidence that, during the time period of the conspiracy, both Ogunlana’s and

Oguntuyi’s bank accounts received substantial cash deposits.

       Regarding Ogunlana, a review of records of bank accounts Ogunlana held in his own name

at PNC Bank reveals that, between December 2017 and March 2019, the account received

substantial cash deposits, separate and apart from direct deposits from USPS as employment

income. There were approximately 146 cash deposits totaling approximately $56,000. The

individual deposits ranged in amounts from $20 to $1,660 and were mostly made at ATMs in the

Baltimore metropolitan area. Ogunlana made multiple cash deposits on approximately 35 dates.

The deposits were most frequent between July 2018 and January 2019, during which time

Ogunlana stole all of the checks from DeVere Insulation Company and Evan Transportation Inc.

involved in the case, and included about 100 cash deposits totaling approximately $35,000. Prior

to receiving payments from USPS in a PNC Bank account, Ogunlana received payments into a

State Employees’ Credit Union account, and records for that account also received numerous ATM

deposits during the time frame of the conspiracy.



                                                21
       Case 1:20-cr-00285-CCB Document 112 Filed 01/25/22 Page 22 of 30



       5. Ogunlana Flagrantly Abused the Public’s Trust On a Serial Basis

       Finally, Ogunlana’s habitual and repetitive betrayal of his oath and duties as a USPS letter

carrier over the course of more than two years fully warrants the increase of his sentence called

for by U.S.S.G. § 3B1.3. When Ogunlana joined the Postal Service in October 2014, he swore an

oath to “well and faithfully discharge the duties” of his office and declared his understanding of

his duty to “protect the United States mail, Postal Service property, and assets[.]” He also signed

a separate document acknowledging his duty to “preserve and protect the security of all mail in

[his] custody from unauthorized opening, inspection, tampering, delay, reading of the contents or

covers, or other unauthorized acts.” Exhibit 32. The same document called Ogunlana’s attention

to 18 U.S.C. § 1709, the offense charged in Counts Twenty-Eight through Thirty-Two of the

Second Superseding Indictment, and notified him that he could be imprisoned for stealing,

delaying, deserting, destroying, or obstructing U.S. mail. Id. Notwithstanding, his oaths and

acknowledgements, Ogunlana spent practically half of his time as a USPS employee abusing that

position for personal gain on a routine—sometimes daily—basis.

       Exhibit 33 is a 13-minute video compilation that offers a just a glimpse of how Ogunlana

spent his time as a USPS letter carrier and his flagrant abuse of the community’s trust. The images

were captured by a covert camera installed in Ogunlana’s assigned postal delivery vehicle between

December 21, 2018, and January 11, 2019. The video compilation shows Ogunlana opening mail,

reviewing the contents, paying special attention to credit cards found inside, signing credit cards,

placing items of interest inside his lunch cooler, and discarding envelopes out the window of the

vehicle. (Exhibit 33-A is a compilation of still images from the video.)

       It is clear that the community has suffered an erosion of trust in the integrity of the Postal

Service and commercial parcel delivery services. An unfortunate lesson of this case is that the



                                                22
        Case 1:20-cr-00285-CCB Document 112 Filed 01/25/22 Page 23 of 30



public’s lack of trust is justified. It is not hard to imagine a world in which society’s trust in the

postal system is completely lost and the gross disruptions and inefficiencies of daily life that would

result. Indeed, there are countries where such a dystopia is the harsh reality due to widespread

postal theft. It is conduct like Ogunlana’s that pushes our nation closer to such a disturbing

outcome, and an increase of his sentence to account for this fact is fully warranted.

       In summary, the Sentencing Guidelines in this case are as high as they are for many

reasons—all reasons created by specific choices that Ogunlana personally and willfully made. The

circumstances of this case are not the fault of Congress or the Sentencing Commission but are

Ogunlana’s own. Any reasonable sentence in this case must take full account the cumulative

gravity of Ogunlana’s 30-month course of intricate, treacherous, and prolific criminal schemes.

       B. Ogunlana’s Crimes Were Unusually Serious, By Any Reasonable Measure

       By now, it should be apparent to the Court that the nature and circumstances of the

defendants’ crimes in this case were extraordinarily serious. Even setting aside the applicable

factors provided in the Sentencing Guidelines, any reasonable and objective measure of criminal

conduct would call for a substantial and lengthy prison sentence in this case.

       Let us take, for example, the alternative guidelines outlined in a document cited by

Ogunlana on page 7 of his sentencing memorandum: “A Report on Behalf of the American Bar

Association Criminal Justice Section Task Force on the Reform of Federal Sentencing for

Economic      Crimes,     Final    Draft,”    dated    November       10,    2014,      available   at

https://www.americanbar.org/content/dam/aba/publications/criminaljustice/economic_crimes.pdf

(the “2014 ABA Task Force Report”) (last accessed on January 21, 2021). The proposed

guidelines advocated in the 2014 ABA Task Force Report diminish the influence of loss amounts

in the determination of the sentencing range, but makes up for it by focusing on loose standards of



                                                 23
       Case 1:20-cr-00285-CCB Document 112 Filed 01/25/22 Page 24 of 30



“culpability” and “victim impact.” See id.5 Even by these standards, Ogunlana’s criminal conduct

was unusually serious.

       1. Ogunlana’s Culpability for the Offenses Is Extremely High

       The 2014 ABA Task Force Report recommends that culpability be assessed based on a

non-exhaustive list of factors, including

          the defendant’s motive (including the general nature of the offense);
          the correlation between the amount of loss and the amount of the
           defendant’s gain;
          the degree to which the offense and the defendant’s contribution to it was
           sophisticated or organized;
          the duration of the offense and the defendant’s participation in it;
          extenuating circumstances in connection with the offense;
          whether the defendant initiated the offense or merely joined in criminal
           conduct initiated by others; and
          whether the defendant took steps (such as voluntary reporting or cessation,
           or payment of restitution) to mitigate the harm from the offense.

Id. at 1. Notably, several of these factors are broken out as specific offense characteristics in

U.S.S.G. § 2B1.1 and result in enhancements applicable in this case, as outlined in ¶¶ 27-32 of the

PSR and further discussed in Part II.A above.

       The factors listed above that are not emphasized in § 2B1.1 all underscore Ogunlana’s high

culpability for his series economic crimes in this case. Specifically, it is apparent that the

defendants’ crimes were motivated by greed, the duration of the conspiracy lasted a lengthy period




5
  It is important to note that the numerical offense level enhancements were viewed by the ABA
Task Force as less important than the overall structure of the proposal and are “placed in brackets
to indicate their tentative nature.” Id. at 9. This caveat cautions against any effort to compute
what Ogunlana’s offense level would have been if the guidelines proposed in the report were the
law of the land.


                                                24
        Case 1:20-cr-00285-CCB Document 112 Filed 01/25/22 Page 25 of 30



of 30 months,6 and there were no extenuating circumstances that mitigate or to any degree justify

the offenses. Indeed, Ogunlana’s salary as a USPS employee was more than adequate to support

himself like any law-abiding citizen. The ABA Task Force would classify Ogunlana’s motive as

“predatory”—that is, “intended to inflict loss for the sole or dominant purpose of generating

personal gain to the defendant or to others involved in the criminal undertaking” and “accompanied

by no legitimate purpose”—which makes Ogunlana’s crimes “among the most culpable types of

offenses[.]” Id. at 2.

        Furthermore, by all indications, Ogunlana and Oguntuyi started the conspiracy together,

rather than Ogunlana being recruited into it, and Ogunlana did not withdraw from the conspiracy

before he was confronted by law enforcement on February 5, 2019.7 There were a number of

business checks that Ogunlana stole but never attempted to negogiate and ultimately did not

transfer to Oguntuyi. Instead of withdrawing from the conspiracy or seeking to mitigate the harm

by returning the checks to their owners, Ogunlana simply destroyed them. Seven ripped checks

payable to DeVere Insulation Company and Evan Transportation Inc. were found in Ogunlana’s

personal vehicle on February 5, 2019.

        Ogunlana’s very high culpability is without question.




6
 “Criminal undertakings that extend over several months or longer suggest a greater degree of
culpability[.]” Id. at 4.
7
  There was a brief time period in April 2018 during which Ogunlana expressed to Ajayi an
intention to cease involvement in credit card fraud, but Ogunlana was back at it within days. A
few weeks later, Ogunlana was stopped by law enforcement in Northern Virginia, found in
possession of numerous credit cards he had stolen from postal customers, and arrested for DWI
and Disorderly Conduct. See PSR ¶ 42.
                                               25
       Case 1:20-cr-00285-CCB Document 112 Filed 01/25/22 Page 26 of 30



           2. Ogunlana’s Impact On Victims and Abuse of Their Vulnerabilities Were
              Substantial

       Victim impact factors listed in the 2014 ABA Task Force Report include the vulnerability

of victims and non-economic harms. Id. at 4-5. (Much has already been said in this memorandum

about economic harm and the very high number of victims in this case.) Ogunlana’s victims were

highly vulnerable to his brazen dereliction of duty. Virtually everyone in the community depends

heavily on the integrity of the postal system and the financial system. It can be very difficult for

postal customers to know if or when anyone has stolen important documents and/or financial

instruments from their incoming or outgoing mail, or who may be responsible for any thefts that

are eventually discovered, or the extent to which sensitive and confidential personal and financial

information has been compromised.        Criminally inclined postal workers like Ogunlana are

uniquely situated to prey upon this vulnerability.

       Individual victims like T.B., J.C., S.S., V.M., and others were notified through the

investigation in this case that their identities were compromised, but neither they nor the

Government can know the full extent of the compromise. No one can know whether they will find

fraudulent charges made or fraudulent accounts opened in their names at some point in the future

and whether it will, for example, disrupt their efforts to obtain credit when they need it or place

them at risk of referral to debt collection or even being sued or criminally charged. Thus, even in

cases where individual victims are not financially impacted or any losses are reimbursed by their

banks and credit card companies, there is no denying that identity theft takes a lasting toll on

victims. Identity theft victims commonly speak about the constant stress, anxiety, and insecurity

that comes along with learning that one’s personal information has been compromised and exposed

for use in an endless series of financial fraud schemes.




                                                26
       Case 1:20-cr-00285-CCB Document 112 Filed 01/25/22 Page 27 of 30



       The experiences of the business victims Evan Transportation Inc. and DeVere Insulation

Company offer further illustration of how vulnerable postal customers are to the predation of

criminal postal workers like Ogunlana. In its victim impact statement, Evan Transportation Inc.

notes expenses not just for stolen checks that were never reimbursed but also time spent by

business managers conducting research and working with banks, customers, and law enforcement

to investigate, dispute, and resolve the missing checks; making fraud claims and affidavits; and

picking up 52 check payments from customers to avoid further thefts. Exhibit 1 (ECF No. 101 at

3). From the list of expenses alone, it is apparent that Ogunlana’s serial theft from the business

was not just a financial burden but an administrative nightmare and may have even strained

business relationships between the victim and various customers. The ordeal was even worse for

DeVere Insulation Company, having suffered a far greater number of check thefts (approximately

89) than Evan Transportation Inc. (approximately 23).8

           3. Ogunlana Poses an Acute Economic Danger to the Community

       One critical sentencing factor in theft and fraud cases that may not be adequately accounted

for in either the U.S. Sentencing Guidelines or proposed alternatives like the 2014 ABA Task

Force Report is the extent and frequency of the defendant’s thefts and deceptions. This factor

should weigh heavily in any sentencing court’s assessment of the economic danger a theft or fraud

defendant pay pose to society. The frequency and extent of Ogunlana’s thefts and fraudulent

transactions during the 30-month span of the conspiracy were incredibly high (occurring multiple

times per day at times) and establish that he poses an unbearable risk to the economic well-being

of the community. A lengthy term of incarceration is therefore necessary to protect the public and



8
  DeVere Insulation Company has declined to submit a victim impact statement, expressing to
undersigned counsel that it wishes to spend no more time or effort on this matter, given what
they believed to be a low likelihood of actually collecting restitution for their losses.
                                               27
       Case 1:20-cr-00285-CCB Document 112 Filed 01/25/22 Page 28 of 30



to reflect the seriousness of Ogunlana’s criminal involvement, to provide just punishment, and to

protect the public from further crimes.

       C. Ogunlana’s Character For Deceit Is Firmly Established

       It takes an individual of extreme deceitfulness to engage in the criminal offenses and

conspiracy conducted by Ogunlana for as long as, and with the high frequency, that Ogunlana did.

The fact that Ogunlana was undeterred from his thefts and frauds after being stopped by the police

in May 2018 and found in the possession of 22 credit cards stolen from postal customers, speaks

volumes about the stubbornness of Ogunlana’s corruption and greed. Instead of counting himself

lucky for not being charged federally with mail theft and identity theft at that point and avoiding

further criminal involvement, Ogunlana resolved simply to mitigate his personal risk by avoiding

personal use of the stolen cards and having others, like Ajayi, conduct the fraudulent transactions

for him. See Exhibit 31 at 32 (Ogunlana telling Richard Allison that he “can’t even go inside store

or nontin [nothing] that have to do with pako [credit cards] at all” until he gets out of trouble

(“wahala”) and that he needs to “slow down”). Even so, Ogunlana failed to avoid being caught on

camera at two separate locations with Ajayi using a credit card that Ogunlana stole. See PSR ¶ 12;

United States v. Ajayi, Crim. No. CCB-21-242, , ECF No. 19 at 11 (Plea Agreement, Attachment

A). And, while Ogunlana was likely content to have Oguntuyi and others risk themselves by

depositing stolen checks into fraudulent bank accounts numerous times, Ogunlana was caught

doing the same on at least two occasions. PSR ¶ 17.

       The covert video surveillance of Ogunlana in December 2018 and January 2019 illustrates

his lack of hesitation to rifle and steal items from the mail and even litter unused material by

discarding it out the window of his postal vehicle. See Exhibits 33 and 33-A. Consistent with

his pattern of lies and treachery, Ogunlana attempted to place all blame on his co-conspirators and



                                                28
       Case 1:20-cr-00285-CCB Document 112 Filed 01/25/22 Page 29 of 30



falsely claimed duress when he was finally confronted about his thefts and frauds by federal agents

on February 5, 2019. See ECF No. 55-3.

       Ogunlana’s pattern of deceit has apparently been undeterred even by the instant

prosecution and is ongoing as of this month. After several location monitoring-related violations

of conditions of pretrial release, and an arrest in September 2021 for DWI and Reckless Driving

(see PSR ¶ 47), Ogunlana currently remains on release under conditions of location monitoring

and is restricted from driving. The U.S. Probation Office reports that Ogunlana recently gave

several conflicting accounts upon questioning by his supervising officer about detected deviations

from approved foot travel.     Ogunlana eventually admitted traveling by car to at least two

unapproved locations after at least two false accounts of his whereabouts. He claimed that his

mother drove him. At a bail review hearing on January 24, 2022, Ogulana was ordered to “24-

hour-a-day lockdown” at his home pending his sentencing hearing.

       For certain, the sentence in this case has much work to do if it is to deter someone of

Ogunlana’s character and access as a postal worker, to protect the community further crimes, to

impart respect for the law, and to reflect the seriousness of the crimes he and Oguntuyi committed

together over the course of more than two years. A total sentence of 132 months followed by five

years of supervised release are necessary to satisfy these purposes of sentencing.




                          [SPACE INTENTIONALLY LEFT BLANK]




                                                29
       Case 1:20-cr-00285-CCB Document 112 Filed 01/25/22 Page 30 of 30



III.   Conclusion

       For the foregoing reasons, and additional reasons outlined in the Government’s original

sentencing memorandum (ECF No. 92), the Government respectfully recommends a total sentence

of 11 years of imprisonment followed by a five-year term of supervised release.



                                                     Respectfully submitted,

                                                     Erek L. Barron
                                                     United States Attorney

                                            By:      _____/s/________________________
                                                     Matthew J. Maddox
                                                     Assistant United States Attorney

                                                     Michael F. Davio
                                                     Special Assistant United States Attorney



                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on this 25th day of January, 2022, a copy of the foregoing

Memorandum in Opposition to Defendant Oguntuyi’s Sentencing Memorandum were served on

counsel for defendants via CM/ECF.



                                               By:          /s/
                                                     Matthew J. Maddox
                                                     Assistant United States Attorney




                                               30
